       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN


                         JUDGMENT RENDERED AUGUST 20, 2024



                                      NO. 03-22-00400-CV


                       Leo Graves d/b/a Graves Tire Service, Appellant

                                                  v.

                   Texas Commission on Environmental Quality, Appellee




         APPEAL FROM THE 200TH DISTRICT COURT OF TRAVIS COUNTY
          BEFORE CHIEF JUSTICE BYRNE, JUSTICES TRIANA AND SMITH
                  AFFIRMED -- OPINION BY JUSTICE SMITH




This is an appeal from the denial of a petition for bill of review seeking to overturn a final

judgment signed by the district court on June 23, 2022. Having reviewed the record and the

parties’ arguments, the Court holds that there was no reversible error in the district court’s

denial. Therefore, the Court affirms the district court’s denial. The appellant shall pay all costs

relating to this appeal, both in this Court and in the court below.
